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                                                                    The Honorable Barbara J. Rothstein
 1

 2

 3

 4
                              IN THE UNITED STATES DISTRICT COURT
 5                          FOR THE WESTERN DISTRICT OF WASHINGTON
 6

 7    RICARDO SALOM, CATHERINE
      PALAZZO as assignee for Ruben Palazzo,
 8
      and PETER HACKINEN, on their own
 9    behalf and on behalf of other similarly              Case No: 2:24-cv-00444-BJR
      situated persons,
10
            Plaintiffs,
11                                                         AMENDED JOINT STATUS REPORT
                          vs.                              AND DISCOVERY PLAN
12

13    NATIONSTAR MORTGAGE LLC

14          Defendant.
15          Pursuant to LCR 26(f), Fed. R. Civ. P. 16 and 26(f), and the Court’s Orders on Initial
16
     Discovery (Dkt 17), and in the Order Granting Freddie Mac’s Motion to Dismiss (Dkt. 85),
17
     Plaintiffs and Defendant Nationstar Mortgage LLC (“Nationstar”), though counsel, (collectively
18
     the “Parties”) submit the following Joint Status Report and Discovery Plan.
19

20          1.      A Statement of the Nature and Complexity of the Case.

21                              a.   Procedural History

22          Plaintiffs initiated this action in state court with putative class claims against Nationstar
23   related to fees imposed and collected by it from the Plaintiffs and others like them for a payoff
24
     statement of their residential, mortgage loans. Nationstar removed this action to this Court and
25
     filed an initial motion to dismiss the Plaintiffs’ original complaint. As is their matter of right,
26
                                                       1
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      AND DISCOVERY PLAN                                                    1526 Gilpin Avenue
      2:22-cv-01440-LK                                                      Wilmington, DE 19806
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     Plaintiffs filed an Amended Complaint—Class Action (Dkt. 24) altering their original claims
 1

 2   and also adding alternative claims against Freddie Mac and a Defendant’s Class (who are

 3   Nationstar’s clients for whom it collects on the loans Nationstar’s clients own). Nationstar then

 4   filed an Answer to the Amended Complaint (Dkt. 35) and then a Motion for Judgment on the
 5
     Pleadings, (Dkt. 37). Freddie Mac also filed a Motion to Dismiss (Dk No. 74). Plaintiffs filed
 6
     a Motion for Relief Under Fed. R. Civ. P. 23(d) and a preliminary Motion for Class Certification
 7
     (Dkt. 46).
 8
            The Court filed an order on October 14, 2024 denying Nationstar’s Motion for Judgment
 9

10   on the Pleadings, denying Plaintiff’s Motion for Relief Under Fed. R. Civ. P. 23(d) without

11   prejudice, and left the Plaintiff’s Motion for Class Certification pending supplementation. (Dkt.
12   77). Then, after stalled negotiation, Plaintiff’s brought a Motion for a Protective Oder (Dkt No.
13
     80), which was ultimately withdrawn, and a Stipulated Protective Order was filed and approved
14
     by the Court. (Dkt. 84).
15
            Lastly, on December 5, 2024, the Court granted Freddie Mac’s Motion to Dismiss
16

17   without prejudice, dismissing both Freddie Mac and the Defendants’ Class. (Dkt. 85).

18                         b.      Plaintiffs’ Claims

19          Plaintiffs’ claims concern whether Nationstar (or its clients) may impose and collect
20   claim fees (typically in the sum $25.00 or more) related to their requests for accurate written
21
     payoff statements their residential, mortgage loans issued pursuant to 15 U.S.C.A. § 1639g and
22
     12 C.F.R. § 1026.36(c)(3) under the Truth in Lending Act (TILA) when their loan agreements
23
     and the standard loan agreements of the putative class members do not expressly authorize the
24

25   fees. In addition, Federal and State laws governing the Parties’ relationships, also do not

26   expressly authorize fees for the Payoff statements. For example, the Fair Debt Collections
                                                      2
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     Practices Act (“FDCPA”), 15 U.S.C. § 1692f(1), expressly bars Nationstar’s conduct at issue
 1

 2   and the state laws of multiple states including Maryland and Washington incorporate the same

 3   fee bar by their own statutes. In addition, additional Federal law also bars Nationstar as a servicer

 4   for others from imposing and collecting fees for statements issued pursuant to the TILA which
 5
     includes statements issued by 15 U.S.C.A. § 1639g and 12 C.F.R. § 1026.36(c)(3). 12 U.S.C.A.
 6
     § 2610.
 7
            Plaintiffs seek damages and/or disgorgement on their behalf and others similarly situated
 8
     for the fees collected by Nationstar or in the alternative for the sums collected in excess of
 9

10   Nationstar’s actual, reasonable costs. In addition, also seek statutory damages, injunctive relief,

11   attorneys’ fees and costs, and pre- and post-judgment interest.
12          Nationstar denies liability and denies damages as to all of Plaintiffs’ causes of action.
13
     Nationstar asserts that it was entitled to charge a fee for expedited payoff quotes and its authority
14
     to do so is found in the loan agreements, federal regulations, and HUD guidelines. Nationstar
15
     denies the issues in this case have been previously determined. Nationstar does not believe any
16

17   individual cause of action is complex, but if a class were certified it would add a level of

18   complexity to the case. Nationstar further asserts that none of the Plaintiffs provided pre-suit notice

19   and opportunity to cure prior to commencing this action either directly to Nationstar or indirectly
20   through notice to the investor.
21
            2.      A Proposed Deadline For the Joining of Additional Parties.
22
            Plaintiffs believe the deadline for joining additional Parties should be 60 days following
23
     the filing of this Joint Status Report in light of Nationstar’s continued omission of its frank and
24

25   honest disclosures to the Plaintiffs and the Court. See ¶ 5(c) infra. This extended deadline is

26   also fair and reasonable since Nationstar has purposely avoided agreeing to have is sole witness
                                                        3
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     appear to any deposition until six months after Plaintiffs first notices its and more than 15 days
 1

 2   after this report is filed with the Court. This extended deadline is also reasonable since Nationstar

 3   has also indicated it will not agree to have its non-disclosed Bloom witnesses until some date it

 4   alone determines but coincidentally also more than 15 days after the filing of this report with the
 5
     Court. See also ¶ 5(e) infra.
 6
            Nationstar believes the deadline for joining additional parties should be 15 days
 7
     following the filing of this Joint Status Report.
 8
            3.      Assignment of the Case to a United States Magistrate Judge
 9
                    (28 U.S.C. § 636(c) an LCR MJR 13)
10
            There is not unanimous consent of the Parties to the appointment of a Magistrate Judge
11
     for all proceedings at this time.
12
            4.      A Discovery Plan That States, By Paragraph Letters, the Parties’ Views and
13
                    Proposals on All Items in Fed. R. Civ. P. 26(F)(3):
14
                    a.      Initial disclosures.
15
            The Parties exchanged initial disclosures as required by the Court’s Order to Set Case
16

17   Schedule. (Dkt 17). The Plaintiffs have also amended and supplemented their initial disclosures

18   and provided those amendments to Nationstar (though its corporate counsel) on July 2, 2024 and

19   July 20, 2024. Plaintiffs will continue to supplement their disclosures with additional responsive
20   information as this matter proceeds as necessary and appropriate.
21
                    b.      Subjects, timing, and potential phasing of discovery.
22
            The Parties agree that discovery should be conducted within the parameters provided by
23
     the Federal Rules of Civil Procedure.
24

25          Plaintiffs contend that there is no need to phase discovery, and the legal issues can be

26   resolved at the same time as Plaintiffs’ early motion for class certification of a Plaintiffs’ Class.
                                                         4
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     Plaintiffs also contend Nationstar’s phasing request is simply its own effort to overcomplicate a
 1

 2   straightforward case and for it to dictate the sequencing and order of discovery which is not

 3   permitted by FED. R. CIV. P. 26(d)(3). If the Defendant Nationstar wishes to move for summary

 4   judgment then it will waive the one-way intervention rule since the Court would be entitled and
 5
     authorized to make finding of law or fact adverse to Nationstar. FED. R. CIV. P. 56(f)1) & (g).
 6
     Plaintiffs believe a fee related to a payoff of a mortgage loan is simply another pay-to-pay fee,
 7
     and Nationstar has a history of imposing and collecting in various forms to which it has
 8
     knowledge is not permitted (a fact to which its counsel in this case has admitted in other court
 9

10   proceedings). Further, Plaintiffs note that Court already determined and rejected Nationstar’s

11   purported defense based upon an alleged failure to provide pre-suit notice under paragraph 20 of
12   the standard deeds of trusts (ECF. 77) and the defense fails also since: (i) that requirement does
13
     not apply to illegal fees not authorized by any loan agreement (a fact that Freddie Mac
14
     successfully based its motion to dismiss upon) or to a mortgage servicer—like Nationstar here—
15
     who does not own any of the subject loans; (ii) when notice was already given to the loan owners
16

17   before the filing of the Amended Complaint; (iii) the remaining statutory claims asserted in this

18   action have no such requirement and to impose such a requirement is contrary to their remedial

19   purpose; and (iv) Nationstar has been on notice of these claims for nearly six years in the Bloom
20   case and other actions and elected instead to continue its fee churning practices after it was on
21
     notice that its practices were being challenged thereby forfeiting and waiving any legitimate
22
     defense (if it even applied to this action and Plaintiffs contend it does not).
23
            Nationstar contends this case should be divided into two phases: (1) a phase to determine
24

25   the legality of a fee for expedited payoff quotes and whether Plaintiffs provided pre-suit notice

26   and opportunity to cure prior to commencing this action; and (2) a full merits phase. A
                                                        5
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     determination concerning whether Nationstar could charge a fee for expedited payoff quotes will
 1

 2   substantially narrow the case by either eliminating certain claims or substantially narrowing

 3   them. A determination on whether Plaintiffs complied with their obligations under section 20

 4   of their deed of trusts will also substantially narrow the case. Nationstar should be able to move
 5
     for summary judgment on the question of whether the quotes provided to each plaintiff were
 6
     requested on an expedited basis, and if so, whether under the circumstance charging a fee is
 7
     allowed. The merits phase for any remaining issues should commence only after an order is
 8
     entered on any summary judgment motion relating to the issue of a fee for expedited quotes.
 9

10   Nationstar believes that an early decision on these issues will ultimately help streamline the case

11   in the merits phase. Nationstar disagrees that a fee for expedited services is akin to the so-called
12   “pay-to-pay” fees that were previously litigated in numerous cases and has cited loan contracts
13
     and both federal and state regulations in support.
14
                     c.      Electronically stored information.
15
             Without waiving objections as to any particular document or categories of documents,
16

17   the Parties agree that, in the initial round of document production, documents may be produced

18   in searchable bates-numbered PDF, TIFF, or JPEG format. After initial production, Plaintiffs

19   may seek some documents in native format with metadata. Nationstar will need to see Plaintiffs’
20   subsequent requests to determine the appropriate response but reserves all objections.
21
             The Parties have agreed upon various issues relating to the production of ESI, which are
22
     set forth at Section 5(j), infra.
23
             The Parties agree that, if there is a dispute, or if the need to produce other categories of
24

25   documents arises, they will work cooperatively to minimize the time and expense related to

26
                                                       6
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     production of e-discovery. If the Parties are still unable to agree after good-faith efforts to
 1

 2   resolve discovery disputes, they may resort to seeking resolution from the Court.

 3                   d.     Privilege issues.

 4          The Parties agree that privilege logs will be produced with each party’s discovery
 5
     responses at the time of production or, if a party intends to roll out discovery by agreement,
 6
     within 10 days after completing production. The Parties have filed a stipulated protective order
 7
     based on the Court’s model protective order and the Court has entered that stipulation as an order
 8
     of the Court.
 9

10          The Parties will work in good faith to resolve any future disputes regarding privilege. If

11   the Parties are unable to agree after good-faith efforts to resolve discovery disputes, they may
12   resort to seeking assistance from the Court pursuant to the Court’s procedures.
13
                     e.     Proposed limitations on discovery.
14
            The Parties agree that discovery should be limited as provided in the Federal Rules of
15
     Civil Procedure and Local Rules. The Parties agree that any objections to a discovery request
16

17   should be specific as to that discovery request.

18          Plaintiffs contend that boilerplate objections to discovery requests are not proper and may

19   not be used. Plaintiffs request that Defendants agree to this prohibition. Nationstar brought a
20   motion to stay discovery pending the Court’s ruling on its Motion for Judgment on the Pleadings
21
     after Plaintiffs notified Nationstar they sought to move for early class certification and for a case
22
     management order. (Dkt. 39). The Court denied Nationstar’s Motion to Stay Discovery with its
23
     Order Denying Motion for Judgment on the Pleadings. (Dkt. 77). Just before the Stay Motion
24

25   was filed five months ago, Plaintiffs served a subpoena on Fannie Mae and a Notice of

26   Deposition on Courtney Ehinger, a Managing Officer of Defendant Nationstar. Nationstar
                                                        7
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     delayed setting the deposition until the Court’s ruling on its Motion to for Judgment on the
 1

 2   Pleadingsand only agreed to make her available on January 14, 2025—more than six months

 3   after the deposition was noted and never timely objected.. Since that time, Plaintiffs have served

 4   written discovery on Nationstar for each of the Plaintiffs and have also served Subpoenas to the
 5
     Maryland Department of Financial Affairs and the Washington State Department of Financial
 6
     Affairs. Plaintiffs have also served deposition notices for two additional Nationstar employee
 7
     witnesses for whom Nationstar failed to identify in its discovery production or disclosures to the
 8
     Court and Plaintiffs but who have knowledge of Nationstar’s conduct at issue in this case—since
 9

10   they have provided testimony on behalf of Nationstar in New York state on the same issues.

11   See ¶ 5(c) infra. Yet, Nationstar’s response to these other depositions is to delay providing the
12   witnesses’ availability to appear for any deposition until it alone decides to do so and after its
13
     own proposed amendment deadline.
14
            Nationstar notes this section should simply be about limitations to discovery, and
15
     Plaintiffs’ requested “limitations” are unnecessary. Further, Nationstar believes Plaintiffs’
16

17   requested instructions are inappropriate because they lack context in this discussion, and whether

18   a specific objection is appropriate to a specific discovery response should be determined on a

19   case-by-case basis. Nationstar agrees to meet and confer in good faith concerning objections to
20   discovery.
21
            Nationstar further notes that it has agreed to produce Ms. Courtney Ehinger for deposition
22
     on January 14, 2024 in Dallas, TX and has produced 20,022 pages of documents of which only
23
     91 pages (i.e., less than 5/10 of 1%) are designated as confidential.
24

25          Otherwise, the Parties do not currently seek additional limitations on discovery but may

26   seek limitations should the need arise.
                                                       8
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                    f.      The need for any discovery-related orders.
 1

 2          On November 25, 2024, the Court entered a Stipulated Protective Order. (Dkt. # 84.)

 3   Additional orders may be necessary based on the scope of discovery and discussions of the

 4   Parties concerning such discovery. The Parties will attempt to amicably resolve differences
 5
     whenever possible. If a genuine dispute arises, and the parties are unable to resolve it, the Court
 6
     may be requested to resolve such disputes.
 7
            Plaintiffs do not believe Nationstar’s efforts to control the sequencing of this action are
 8
     reasonable or appropriate under the circumstances of this case. See ¶ 4(b) supra. By bifurcating
 9

10   the action in the manner sought by Nationstar, it seeks to over-complicate the proceedings in a

11   time and manner it alone controls when it knows from its own judicial admissions in other recent
12   actions there is no basis to suggest this action is overly complicated and cannot be easily
13
     maintained on a class-wide basis. See e.g. ECF 41-2 at Pages 14-15 of 16 (MF XVII).
14
            Nationstar believes a stay on class-wide discovery pending a ruling on the central legal
15
     issues in the case—the legality of charging a fee for expedited services such as the payoff quotes
16

17   integral to the amended complaint and whether Plaintiffs complied with section 20 of their deed

18   of trusts by providing pre-suit notice and opportunity to cure prior to commencing this action—

19   is warranted and will conserve considerable court and party resources. Nationstar disagrees with
20   Plaintiffs that any statements in unrelated cases such as the so-called “pay-to-pay” fee cases is
21
     relevant in this matter.
22

23

24

25

26
                                                       9
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            5.      The Parties’ Views, Proposals, and Agreements, By Corresponding
 1                  Paragraph Letters, on All Items Set Forth in Local Civil Rule 26(F)(1):
 2
                    a.      Prompt case resolution.
 3
            The Parties intend to file dispositive motions on all or part of the claims, allegations,
 4
     and/or affirmative defenses in an effort to shorten or simplify the case.
 5

 6          After notifying Nationstar on June 14, 2024, Jule 20, 2024, and June 23, 2024 of their

 7   intentions and finally having a meet and confer session on July 3, 2024 when Nationstar’s and

 8   the Plaintiffs’ counsel were available, the Plaintiffs sought leave to file their prepared motion
 9
     for early class certification. See e.g. ECF 41, 41-1, 41-2. Plaintiffs previously moved for a Rule
10
     23(d) case management order related to certain issues to ensure any specific communications by
11
     Nationstar with the Plaintiffs and putative members of the Plaintiffs’ Class. The Court denied
12
     that motion with prejudice, but since then, Plaintiffs have learned about a related state law case
13

14   from New York where a class is certified (see ¶ 5(c) infra) and Nationstar has affirmatively

15   stated under penalties of perjury by its authorized corporate designee that it “does not intend to
16   refund any [payoff fees] absent a resolution of this dispute.” In light of Nationstar’s prior
17
     omissions and sworn declaration and desire to continue to charge and collect fees to borrowers
18
     to receive payoff statements, Plaintiffs position is Nationstar simply wishes to forestall any
19
     efforts for prompt case resolution.
20

21          Nationstar filed its motion to dismiss the initial complaint on May 9, 2024 after

22   conferring with counsel for Plaintiffs on May 2, 2024. 1 In response, Plaintiffs filed their amended

23

24
            1
25            Nationstar conferred with counsel for Plaintiffs in writing and by video conference. In its
     written conferral, Nationstar provided citations to legal authority forming the basis for the motion
26
                                                       10
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     complaint on May 30, 2024. After evaluating the amended complaint and conferring with
 1

 2   counsel for Plaintiffs on July 3, 2024, on July 12, 2024, Nationstar filed a motion for judgment

 3   on the pleadings regarding fundamental threshold issues that do not require discovery for

 4   adjudication and a motion to stay discovery pending a ruling on its motion for judgment on the
 5
     pleadings. On October 7, 2024, the Court ruled on these motions. (Dkt. # 77.)
 6
                    b.      Alternative dispute resolution.
 7
            If the matter is not dismissed on dispositive motions, the parties prefer mediation at the
 8
     close of discovery pursuant to LCR 39.1.
 9

10                  c.      Related cases.

11          The Plaintiffs have just become aware of a pending related case as that term is defined
12   and described in LCR 3(g)(h) related to Nationstar’s practice of imposing and collecting fees
13
     onto the mortgage accounts of borrowers who have requested accurate payoff statements that
14
     was commenced against Nationstar in a New York state court on or about October 3, 2018 where
15
     it remains pending, a statutory class has been certified, and Nationstar has admitted to the
16

17   conduct at issue in this case concerning its practice of charging thousands of borrowers with fees

18   in order for them to receive payoff statements—i.e. Bloom v. Nationstar Mortgage, Supreme

19   Court of the State of New York for Orange County (Case No. EF010147-2018). Of note,
20   Nationstar voluntarily choose in this action on multiple occasions to not disclose the Bloom
21
     action to the Court or the Plaintiffs. Cf. ECF. 1-2, ECF. 45 at Page 6 of 18 (“Nationstar is
22
     unaware of any pending related cases in this or any other court”), ECF. 51.
23

24

25   to dismiss it later filed. Despite conferring, Plaintiffs never indicated they intended to file an
     Amended Complaint, which would have avoided the necessity of filing the Motion to Dismiss.
26
                                                      11
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            Nationstar is unaware of any pending related cases in this or any other court. Nationstar
 1

 2   believes that the Bloom case cited by Plaintiffs is not a related case under LCR 3(g) for a variety

 3   of reasons, including but not limited to the fact that Bloom was adjudicated before this action

 4   commenced in 2024, is on appeal, involves a different state, a different statute, a different time
 5
     period, and has no overlap with the purported classes here. Nationstar also does not believe
 6
     Bloom is subject LCR 3(h) for the same reasons. Accordingly, no coordination between the
 7
     actions is necessary or appropriate. Nationstar believes that LCR 3 does not require parties to
 8
     inundate the Court with pleadings from any case ever filed that may have some similarity. Doing
 9

10   so would be contrary to the letter and spirit of LCR 3. However, if the Court believes Bloom is

11   subject to disclosure under LCR 3, Nationstar will file the appropriate notice.
12                  d.      Discovery management.
13
            Discovery should be managed as provided for in the Federal Rules of Civil Procedure
14
     and Local Rules.
15
            Plaintiffs believe that any discovery disputes, if any, should be presented to the Court
16

17   using LCR 37(a)’s expedited joint motion procedure.

18          Nationstar does not agree that all disputes must automatically use the procedure set forth

19   in LCR 37(a) and believes that the methodology to resolve discovery disputes should be
20   determined on a case-by-case basis depending on the issue.
21
                    e.      Anticipated discovery sought.
22
            The Parties anticipate discovery depositions of the parties, and non-parties, and discovery
23
     pursuant to Civil Rule 33, 34, 36, and 45.
24

25          Plaintiffs believe substantial, targeted discovery may also be required of non-parties who

26   Nationstar may engage to provide direct or indirect services related to the services at issue in this
                                                      12
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     action. Plaintiffs need discovery from various non-parties to verify the truthfulness of any
 1

 2   affirmation of Nationstar and its designees in light of their prior, material omissions to the Court

 3   in this action and prior actions. See ¶ 5(c) supra. See also ECF. 43.

 4          Nationstar does not agree that substantial discovery of non-parties is necessary although
 5
     some discovery of non-parties is necessary to determine the circumstances of each plaintiff’s
 6
     expedited requests for payoff quotes. Nationstar believes the defendants’ class will not satisfy Rule
 7
     23 requires because Freddie Mac, or any defendant for that matter, will not be willing to act as
 8
     representative. Further, the Court granted Freddie Mac’s motion to dismiss based on the Merrill
 9

10   doctrine which would apply equally to Fannie Mae. (Dkt. # 85.)

11          This is a statement of the parties’ present intentions but does not represent an agreement as
12   to any particular areas of inquiry.
13
            Plaintiff currently intends to conduct discovery on the following topics:
14
                •   Nationstar’s policies, practice, and procedures related to (i) the imposition and
15
                    collection of fees related to the issuance of payoff statements; (ii) its quality
16

17                  control processes and reports related to its practice and custom of collecting fees

18                  from borrowers in compliance with Federal and State laws and regulations

19                  governing its conduct at issue; (iii) the electronic tools and systems of records
20
                    available to it to identify the putative class members and the subject transactions;
21
                    (iv) its relationship with the owners/beneficiaries/investors of the Plaintiffs’ loans
22
                    and the loans of putative class members, including Nationstar’s indemnification
23
                    of the owners/beneficiaries for its conduct at issue in this action of imposing and
24

25                  collecting fees not expressly authorized by contract or law from the Plaintiffs or

26                members of the Plaintiffs’ Class in their agreements with the owners of their loans
                                                   13
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                  (which do not include Nationstar); (v) the terms and conditions governing the
 1

 2                class member loan documents to ensure compliance by Nationstar; and (vi) any

 3                affirmative defenses asserted by Nationstar.

 4            •   The identification of the putative class member transactions and sums collected
 5
                  from them by date.
 6
              •   Nationstar’s knowledge it received from Federal and State agencies who regulate
 7
                  and/or license it to conduct its business related to the imposition and collection of
 8
 9                fees like those in this action and information Nationstar has received from those

10                regulators which might support pattern or practice allegations.

11            •   Fact discovery about the actual costs incurred by Nationstar in preparing payoff
12
                  statements to the Plaintiffs and members of Plaintiffs’ class as compared to the
13
                  fees imposed and collected of $25 or more (when the statements are generated by
14
                  Nationstar’s system of record and it is already paid a servicing fee by its clients to
15
                  perform this servicing function and has no right as a non-party to the mortgage
16

17                contracts to add fees not expressly authorized by law or contract with the

18                Plaintiffs and members of the Plaintiffs’ Class).
19            •   The identification of Nationstar’s clients (i.e., the owners/beneficiaries/investors
20
                  of the Plaintiffs’ loans and the loans of putative class members) for whom it has
21
                  imposed and collected Payoff Fees and what communications Nationstar has
22
                  made to those clients about the occurrence subject to this action (and when those
23

24                occurred).

25            •   Fact discovery about the standard terms and conditions of the loan contracts of the

26               members of the Plaintiffs’ Class with members of the Defendant Class.
                                                  14
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                •   The calculation of sums collected by Nationstar from the putative class members
 1

 2                  related to payoff statements and the calculation of pre-judgment interest for the

 3                  liquidated sums.
 4              •   Nationstar’s net worth for the purposes of statutory damages (unless Nationstar
 5
                    stipulates to its net worth exceeding $50,000,000.00.
 6
                •   Fact discovery related to any affirmative defenses asserted by Nationstar.
 7
                •   Fact discovery about the knowledge or reckless disregard of f Nationstar’s
 8
 9                  conduct toward the Plaintiffs and putative class members for actions at issue in

10                  this case and subject to the occurrence and their ratification of Nationstar’s
11                  conduct based upon that knowledge.
12
                •   Fact discovery for any issues disputed by Nationstar to Plaintiffs’ Motion for
13
                    Class Certification for a Plaintiffs’ Class and related subclasses (if any). Other
14
                    topics that may arise from the above areas and related to the subject occurrence at
15

16                  issue by Plaintiffs’ claims as described in the Amended Complaint and

17                  Nationstar’s Answer.

18          Defendants currently intend to conduct discovery on the following topics:
19          The discovery that Defendants intend to conduct includes, but will not necessarily be
20
     limited to the following topics:
21
                •   Each request for a payoff quote by the Plaintiffs. 2
22

23

24          2
             In its conferral with counsel for Plaintiffs prior to filing the motion to dismiss the
25   complaint, Nationstar raised the fact that its records show the payoff quotes at issue in the
     complaint were requested on an expedited basis. Plaintiffs raised no objection, only to
26
                                                      15
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                •   Each plaintiff’s understanding of the terms of their loans.
 1

 2              •   Plaintiffs’ claimed damages, if any.

 3              •   Disclosure related to Plaintiffs’ claims and theories as described in the Amended
 4                  Complaint and their future discovery responses and Nationstar’s defenses.
 5
                •   Nationstar may conduct similar third-party discovery and/or take third-party
 6
                    discovery in response to such discovery taken by Plaintiffs
 7
                    f.      Whether Phasing Motions Are Desirable.
 8
 9          Plaintiffs do not currently believe that phasing motions is desirable. See ¶ 4(b) supra.

10   Based upon Nationstar’s past conduct in this Court and elsewhere, along with its efforts to delay
11   these proceedings, warrant the issuance of a case management order (i) regulating a narrow scope
12
     of Nationstar’s communications with the Plaintiffs and putative members of the Plaintiffs’ Class
13
     (ii) and requiring Nationstar to affirm its knowledge and compliance with LCR 3(g)(h). See e.g.
14
     ECF 43. See also ¶ 5(c) supra.
15

16          As set forth in Section 4(b), above, Nationstar believes that this case should be divided into

17   two phases: (1) a phase to determine the legality of charging a fee for expedited payoff quote

18   services as authorized by the mortgage, federal law, and industry standard and whether Plaintiffs
19   complied with section 20 of their deed of trust by providing pre-suit notice and opportunity to cure
20
     prior to commencing this action; and (2) a full merits phase that includes the purported class
21

22

23
     subsequently claim a lack of conferral about Nationstar’s motion for judicial notice whatsoever.
24   Regardless of Plaintiffs’ disingenuous assertions, these records, on which Plaintiffs’ claims depend
     on, are integral to the Amended Complaint, and in fact, are now referenced therein. See, e.g., Am.
25   Compl. ¶ 122 (admitting the disputed fee was “labeled ‘Expedited Delivery Fee’” as a new factual
     allegation).
26
                                                      16
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     allegations. Nationstar believes that a short individual-merits discovery phase (60 days written
 1

 2   requests and 30 days party depositions) will enable this matter to be ripe for early summary

 3   judgment (to be filed 30 days after depositions). The Court has discretion to phase discovery in

 4   accordance with Fed. R. Civ. P. 1 to avoid delay and expense, which also conserves scarce judicial
 5
     resources. See, e.g., Dennis v. Amerigroup Wash., Inc., 2019 U.S. LEXIS 225992, (W.D.Wash.
 6
     Sept. 19, 2019) (granting motion to bifurcate to tailor discovery to individual-merits discovery
 7
     until summary judgment); Fitzgerald v. Pollard, 2021 U.S. Dist. LEXIS 98959 (S.D.Cal. May 25,
 8
     2021), *3-6 (same) (citing cases); Giglio v. Monsanto Co., 2016 U.S. Dist. LEXIS 101983
 9

10   (S.D.Cal. Aug. 2, 2016), * 2-4 (same) (citing cases). Nationstar believes that during the first phase

11   the court can determine whether Plaintiffs’ failure to comply with the notice and cure provision
12   under section 20 of their deeds of trust bars their claims.
13
                     g.      Preservation of Discoverable Information.
14
             The Parties do not foresee issues with the preservation of or production of electronically
15
     stored information, subject to any applicable objection or privilege. The parties have taken
16

17   reasonable steps to preserve electronically stored information.

18                   h.      Privilege Issues.

19           See Paragraphs 4(d), 4(e). supra.
20                   i.      Model Protocol For Discovery Of ESI.
21
             The Parties disagree regarding the ESI protocol to be used. Plaintiff prefer to use the
22
     Model ESI protocol. Nationstar prefers the Parties discuss modifications to the Model ESI
23
     protocol tailored to this case.
24

25

26
                                                       17
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                    j.      Alternatives To Model Protocol.
 1

 2          Without waiving objections regarding challenges to production of specific documents, or

 3   categories of documents, the Parties agree that:

 4          (i)     Documents other than emails and email attachments may generally be produced
 5
     as searchable bates-numbered PDF documents, or other similar reasonably accessible electronic
 6
     format as agreed to by the Parties;
 7
            (ii)    Emails may be produced either in PDF or .pst format, with attachments, if any,
 8
     produced in their native formats. If a document is produced in PDF format and a party believes
 9

10   it requires an electronic version, it may request such, and the parties agree to meet and confer in

11   good faith;
12          (iii)   A producing party may produce electronically stored documents, including
13
     emails, attachments, and other documents, as TIFF or JPG images. To the extent technically
14
     feasible without undue burden, TIFFs or JPGs must show all text and images that would be
15
     visible to the reader using the native software that created the document;
16

17          (iv)    A producing party may provide documents with a Concordance-compatible

18   image and data load files (i.e., .OPT and .DAT files) using standard Concordance delimiters.

19          (v)     If a party intends to use search terms to respond to particular Requests for
20   Production, the producing party may produce such search terms to the requesting party prior to
21
     conducting the search. No Party is required to use search terms to collect documents or to search
22
     for documents in response to a Request for Production;
23
            (vi)    To the extent the Parties may agree to disclose records custodians to each other, no
24

25   producing party is required to search for ESI from more than three records custodians, each of

26   whom may be identified to the requesting party before performing the search; and
                                                        18
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              (vii)   Nothing herein prohibits the Parties, or a subset of Parties, from negotiating further
 1

 2   agreements concerning production of ESI.

 3            6.      The date by which discovery can be completed.

 4            Plaintiffs propose the following case schedule:
 5
                                        Event                                        On or Before
 6
                                                                                        Deadline
 7
      Exchange Initial Disclosures                                                       6/10/2024
 8
      Deadline to Join Additional Parties (except for members of the                      2/28/2025
 9
      Defendant Class as appropriate and necessary at the later stage of the
10
      proceedings)
11
      Deadline to Add Claims or Defenses                                                  3/28/2025
12
      Discovery Deadline for Class Certification Fact Issues (if disputed)                5/16/2025
13
      to be Concluded
14                                                                               To be set by the Court
      Class Notice and Opt-Out Period, expert disclosures, relating to after ruling on class
15
      merits, fact discovery, all other dispositive motions, pre-trial and trial certification, if needed
16    deadlines
17                                                                                       9/5/2025
      Discovery Deadline for Merits Issues to be Concluded
18    Any party who intends to rely on expert testimony, other than for
19    rebuttal purposes, shall make expert disclosures under Fed. R. Civ.
20    P. 26(a)(2) along with available dates for expert depositions
21                                                                                      6/20, 2025
          •    For Class Certification issues (if necessary)
22        •    For Merits Issues                                                        10/3/2025

23    Dispositive Motion Deadline                                                       11/7/2025
                                                                                 To be set by the Court
24    Trial                                                                      after ruling on class
25                                                                               certification, if needed

26
                                                        19
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            Consistent with its position set forth above that phasing would be beneficial because a
 1

 2   primary issue in this case is whether Nationstar may charge a fee for expedited services,

 3   Nationstar proposes the following case schedule:

 4
                                     Event                                      On or Before
 5
                                                                                  Deadline
 6
                                     Phase 1
 7
      Exchange Initial Disclosures                                                  6/10/2024
 8
      Deadline to Join Additional Parties                                           8/21/2024
 9
      Deadline to Add Claims or Defenses                                            8/21/2024
10
      Fees for expedited services Discovery Cut-Off                                 2/04/2025
11
      Nationstar May File a Dispositive Motion Relating to Whether                  4/4/2025
12    Charging a Fee for Expedited Services is Allowable and Whether
13    Plaintiffs complied with section 20 of their deed of trusts by
14    providing pre-suit notice and opportunity to cure prior to
15    commencing this action.
16                                   Phase 2
                                                                            150 days after order
17    Fact Discovery Cut-Off                                                on fees for expedited
18                                                                          services
                                                                            motion/compliance
19                                                                          with section 20 of
                                                                            deed of trusts
20

21                                                                            90 days after order
      Any party who intends to rely on expert testimony, other than for
                                                                             on fees for expedited
22                                                                                 services
      rebuttal purposes, shall make expert disclosures under Fed. R. Civ.
23                                                                            motion/compliance
      P. 26(a)(2)                                                             with section 20 of
24                                                                               deed of trusts
                                                                             135 days after order
25    Deadline for Rebuttal Expert Reports if any                            on fees for expedited
                                                                                   services
26                                                                            motion/compliance
                                                      20
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 1                                      Event                                          On or Before

 2                                                                             Deadline
                                                                          with section 20 of
 3                                                                          deed of trusts
                                                                         180 days after order
 4    Dispositive Motion Deadline                                       on fees for expedited
                                                                           services motion
 5                                                                       180 days after order
      Class Certification Motion Deadline                               on fees for expedited
 6                                                                              services
                                                                         motion/compliance
 7                                                                        with section 20 of
                                                                            deed of trusts
 8                                                                      90 days after order
      Trial
 9                                                                      on latest of Class
                                                                        Certification Motion
10                                                                      or Dispositive
                                                                        Motion(s).
11          7.      Whether the case should be bifurcated by trying the liability issues before
                    the damages issues, or bifurcated in any other way.
12

13           Plaintiffs do not anticipate the need to formally request phased motions at this time. See

14   ¶ 4(b) supra. If a party later concludes that issues in this case require phasing, those matters

15   should be promptly brought to the attention of the Court and parties. The parties do not
16
     anticipate any bifurcation of issues at trial currently. If a party later concludes that issues in this
17
     case require bifurcation, those matters will be promptly brought to the attention of the court and
18
     parties. Nationstar’s authorized corporate designees have affirmed, agreed, and testified in
19
     other judicial proceeding that Nationstar has the means and ability to proceed electronically all
20

21   the information necessary for this action to proceed on a class-wide basis (i.e. the names and

22   addresses of the borrowers and the dates and amounts of specific fees imposed and collected by
23   it from those borrowers). See e.g. ECF 41-2 at Pages 14-15 of 16 (MF XVII). Nationstar also
24
     has legal duties to perform such functions in a matter of less than seven days. 12 C.F.R. §
25

26
                                                         21
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     1024.38(c)(2)(i); Md. Code Regs. 09.03.06.05(C)(2)(3). See also Yates v. NewRez LLC, 686 F.
 1

 2   Supp. 3d 397, 405 (D. Md. 2023).

 3          Nationstar believes this case should be bifurcated into two phases: (1) a phase to

 4   determine the legality of a fee for expedited payoff quotes and whether Plaintiffs were required,
 5
     but failed to, provide pre-suit notice of their dispute and an opportunity to cure to Nationstar
 6
     pursuant to section 20 of their deeds of trust prior to commencing this action; and (2) a full
 7
     merits phase. The merits phase for any remaining issue should commence only after an order is
 8
     entered on a motion concerning the legality of a fee for expedited payoff quotes and section 20
 9

10   compliance. Accordingly, the discovery in this matter should be tailored to the individual-

11   merits discovery to avoid the waste of resources and delay. As evident from Plaintiffs’ intended
12   class discovery outlined supra and their Amended Complaint, Plaintiffs seek production of
13
     countless loan files in their entirety, nationally, over six years, with four-purported classes and
14
     a separate defendant class. Defendants believe that an early decision on these issues will
15
     streamline the case in the merits phase and enable the Court to assess the propriety of the
16

17   expedited payoff quote fees first as to the named Plaintiffs. The Federal Rules of Civil

18   Procedure and courts nationally are designed to avoid disproportionate and avoidable expenses.

19   Fed. R. Civ. P. 1. Further, in the event that Plaintiffs survive summary judgment and choose to
20   seek an injunction at trial, Nationstar proposes the liability and damages phases of any trial be
21
     bifurcated. The legal duty to furnish a payoff quote is that the payoff quote be provided in no
22
     more than 7 business days after receipt of a written request for such balance from or on behalf
23
     of the consumer. 15 U.S.C. § 1639g.
24

25

26
                                                       22
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             8.      Whether the pretrial statements and pretrial order called for by Local Civil
 1                   Rules 16(e), (h), (i), and (k), and 16.1 should be dispensed with in whole or in
 2                   part for the sake of economy.

 3           The parties believe a pretrial statement and pretrial order called for by Local Civil Rule

 4   16(e), (h), (i), and (k) and 16.1 should be utilized in this case.
 5
             9.      Whether the parties intend to utilize the Individualized Trial Program set
 6                   forth in Local Civil Rule 39.2 or any ADR options set forth in Local Civil
                     Rule 39.1.
 7
             The Parties do not intend to use the Individualized Trial Program set forth in Local Civil
 8
     Rule 39.2. If the matter is not dismissed on dispositive motions, and ADR becomes necessary,
 9

10   the parties believe that mediation at the close of discovery (or upon a decision of the Court on

11   Class Certification) before an independent mediator mutually agreed to by the Parties will be the
12   most acceptable options set forth in Local Civil Rule 39.1.
13
             10.     Any other suggestions for shortening or simplifying the case.
14
             The Plaintiffs believe based upon Nationstar’s prior admissions and recent sworn
15
     testimony and Nationstar’s legal duties governing its conduct and issues before the Court, they
16

17   are entitled to early for class certification and thereafter for summary judgment on their legal

18   claims concerning all fees imposed by Nationstar related to a borrower’s request for an accurate

19   payoff statement pursuant to TILA since the uniform contracts and laws governing the loans of
20   the members of the Plaintiffs’ Class and the owners of the loans (who do not include Nationstar)
21
     do not expressly authorize any such fees. To that end, Plaintiffs believe their proposed schedule
22
     will shorten and streamline this case. See ¶ 6 supra.
23
             Nationstar believes its statements in other litigation unrelated to payoff quote fees is
24

25   inapplicable to plaintiffs’ challenge in this case to the legality of fees specific to expedited

26   services for payoff quotes that Plaintiffs requested and consent to here.
                                                        23
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             The Parties intend to file dispositive motions on all or part of the claims, allegations,
 1

 2   and/or affirmative defenses in an effort to shorten or simplify the case.

 3           Nationstar believes that 90 days for individual-merits discovery and summary judgment

 4   30 days later will expedite this matter, avoiding gross waste of resources by the parties and the
 5
     Court. Giglio v. Monsanto Co., 2016 U.S. Dist. LEXIS 101983 (S.D.Cal. Aug. 2, 2016), * 1-2
 6
     (“The Federal Rules of Civil Procedure must be ‘employed by the court and the parties to secure
 7
     the just, speedy, and inexpensive determination of every action, Fed. R. Civ. P. 1, and courts are
 8
     authorized to tailor their scheduling orders to fit the particular needs of each case, Fed. R. Civ.
 9

10   P. 16.’”).

11           The parties currently have no additional, specific suggestions for shortening or
12   simplifying the case other than their motions currently pending before the Court.
13
             11.    The date the case will be ready for trial.
14
             Plaintiffs believe that the case should be ready for trial as an individual case by 180 days
15
     after close of merits discovery.
16

17           Nationstar believes the case should be ready for trial as an individual case by 240 days

18   after close of discovery in the merits phase of the case, subject to the timing of the Court’s orders

19   on the Class Certification Motion and Dispositive Motions. However, Defendants contend that
20   a trial continuance would be needed if a class were certified in this case. Should that occur,
21
     Defendants would move for a trial continuance.
22
             12.    Whether the trial will be jury or non−jury.
23
             Plaintiffs have demanded a jury.
24

25           13.    The number of trial days required.

26           The Parties believe that at least seven (7) court days will be needed to try this case.
                                                       24
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         14.    The names, addresses, and telephone
 1

 2
         DEVLIN LAW FIRM, LLC.                CONSUMER LAW CENTER, LLC
 3
         By: /s/ Christina L. Henry           By: /s/ Phillip Robinson
 4       Christina L. Henry, WSBA# 31273      Phillip Robinson, Pro Hac Vice
         6100 219th St SW, Ste 480            1220 Blair Mill Road, Suite 1105
 5
         PMB 398                              Silver Spring, MD 20910
 6       Seattle, WA 98043-2222               phillip@marylandconsumer.com
         chenry@devlinlawfirm.com
 7                                            Counsel for Plaintiffs
         Counsel for Plaintiffs
 8
 9       TROUTMAN PEPPER                      TROUTMAN PEPPER
         HAMILTON SANDERS, LLP                HAMILTON SANDERS, LLP
10
         By: /s/ Jason Manning                By: /s/ John C. Lynch
11       Jason Manning, Pro Hac Vice          John C. Lynch, Pro Hac Vice
         222 Central Park Ave, Ste 2000       222 Central Park Ave, Ste 2000
12       Virginia Beach, VA 23462             Virginia Beach, VA 23462
13       jason.manning@troutman.com           john.lynch@troutman.com

14       Counsel for Defendant Nationstar     Counsel for Defendant Nationstar
         Mortgage LLC D/B/A Champion          Mortgage LLC D/B/A Champion
15       Mortgage                             Mortgage
16
         TROUTMAN PEPPER                      TROUTMAN PEPPER
17       HAMILTON SANDERS, LLP                HAMILTON SANDERS, LLP

18       By: /s/ Thomas N. Abbott             By: /s/ Justin D. Balser
         Thomas N. Abbott, WSBA# 53024        Justin D. Balser, WSBA# 56577
19       100 SW Main St, Ste 1000             5 Park Plaza, Suite 1400
         Portland, Oregon 97204               Irvine, California 92614
20
         thomas.abbott@troutman.com           justin.balser@troutman.com
21
         Counsel for Defendant Nationstar     Counsel for Defendant Nationstar
22       Mortgage LLC D/B/A Champion          Mortgage LLC D/B/A Champion
         Mortgage                             Mortgage
23

24

25
                                                  CORR CRONIN LLP
26
                                             25
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                                                            By: /s/ Emily J. Harris
 1
                                                            Emily J. Harris, WSBA No. 35763
 2                                                          Benjamin C. Byers, WSBA No. 52299
                                                            1015 Second Avenue, Floor 10
 3                                                          Seattle, WA 98104
                                                            eharris@corrcronin.com
 4
                                                            Counsel for Defendant Nationstar
 5
                                                            Mortgage LLC D/B/A Champion
 6                                                          Mortgage

 7          15.     The dates on which the trial counsel may have complications to be considered
 8                  in setting a trial date.
 9
            Plaintiffs have no conflicts for trial to be scheduled in 2026.
10

11
            Defendants have conflicts for trial on the following dates:
12

13

14          16.     If all defendant(s) or respondents(s) have not been served, counsel for the
                    plaintiff shall advise the Court when service will be effected, why it was not
15                  made earlier, and shall provide a proposed schedule for the required Fed. R.
                    Civ. P. 26(f) conference and Fed. R. Civ.P. 26(a) initial disclosures.
16

17          Nationstar was served on March 4, 2024. Freddie Mac was added as a named

18   defendant to this action on behalf of a Defendant’s Class in the Plaintiffs’ Amended Complaint

19   – Class Action filed on May 30, 2024. Freddie Mac specially appeared and obtained an
20
     extension through and including August 26, 2024 to respond to the Amended Complaint.
21
     Freddie Mac was promptly served by Plaintiffs with the Summons issued by the Clerk of the
22
     Court along with all prior papers filed in this action.
23
            17.     Whether any party wishes a scheduling conference before the Court enters
24
                    a scheduling order in the case.
25

26
                                                       26
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             The Parties request a status conference with the Court before a schedule order is entered
 1

 2   in this case.

 3           18.     List the date(s) that each and every nongovernmental corporate party filed
                     its disclosure statement pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.1.
 4           19.
             Nationstar’s Corporate Disclosure Statement was filed on April 10, 2024 (Dkt No. 8).
 5

 6

 7

 8           JOINTLY SUBMITTED this 20th day of December 2024.

 9
             DEVLIN LAW FIRM, LLC.                     CONSUMER LAW CENTER, LLC
10
             By: /s/ Christina L. Henry                By: /s/ Phillip Robinson
11
             Christina L. Henry, WSBA# 31273           Phillip Robinson, Pro Hac Vice
12           6100 219th St SW, Ste 480                 1220 Blair Mill Road, Suite 1105
             PMB 398                                   Silver Spring, MD 20910
13           Seattle, WA 98043-2222                    phillip@marylandconsumer.com
             chenry@devlinlawfirm.com
14                                                     Counsel for Plaintiffs
15           Counsel for Plaintiffs

16           TROUTMAN PEPPER                           TROUTMAN PEPPER
             HAMILTON SANDERS, LLP                     HAMILTON SANDERS, LLP
17
             By: /s/ Jason Manning                     By: /s/ John C. Lynch
18
             Jason Manning, Pro Hac Vice               John C. Lynch, Pro Hac Vice
19           222 Central Park Ave, Ste 2000            222 Central Park Ave, Ste 2000
             Virginia Beach, VA 23462                  Virginia Beach, VA 23462
20           jason.manning@troutman.com                john.lynch@troutman.com

21           Counsel for Defendant Nationstar          Counsel for Defendant Nationstar
             Mortgage LLC D/B/A Champion               Mortgage LLC D/B/A Champion
22
             Mortgage                                  Mortgage
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      AMENDED JOINT STATUS REPORT                                         DEVLIN LAW FIRM LLC
      AND DISCOVERY PLAN                                                  1526 Gilpin Avenue
      2:22-cv-01440-LK                                                    Wilmington, DE 19806
                                                                          Telephone: (302) 449-9010
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         CORR CRONIN LLP                      TROUTMAN PEPPER
 1
                                              HAMILTON SANDERS, LLP
 2       By: /s/ Emily J. Harris
         Emily J. Harris, WSBA No. 35763      By: /s/ Justin D. Balser
 3       Benjamin C. Byers, WSBA No. 52299    Justin D. Balser, WSBA# 56577
         1015 Second Avenue, Floor 10         5 Park Plaza, Suite 1400
 4       Seattle, WA 98104                    Irvine, California 92614
         eharris@corrcronin.com               justin.balser@troutman.com
 5

 6       Counsel for Defendant Nationstar     Counsel for Defendant Nationstar
         Mortgage LLC D/B/A Champion          Mortgage LLC D/B/A Champion
 7       Mortgage                             Mortgage
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